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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF TEXAS

 MARIA DE FATIMA HERNANDEZ
 NUNO
 DE LA ROSA, et al.,                               Case No. 3:22-cv-00565-K

      Plaintiffs,

 v.

 UNITED STATES CITIZENSHIP AND
 IMMIGRATION SERVICES, et al.

      Defendants.



                      NOTICE OF VOLUNTARY DISMISSAL
           PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 41(a)(1)(A)(i)

          Since the filing of this lawsuit, Defendants have finally adjudicated the long-pending

applications of the Plaintiffs Maria De Fatima Hernandez Nuno De La Rosa and Gonzalo Munoz

Sanz. As such, the present lawsuit is now moot.

          Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiffs Maria De Fatima Hernandez Nuno

De La Rosa and Gonzalo Munoz Sanz hereby voluntarily dismiss the instant action with

prejudice. Each side to bear their own fees and costs.



                                                                       /s/ James O. Hacking, III
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                                CERTIFICATE OF SERVICE

       I hereby certify that on April 26, 2022, the foregoing Notice of Voluntary Dismissal was

filed electronically with the Clerk of the Court to be served by operation of the Court’s electronic

filing system.



                                              /s/ James. O. Hacking, III
                                              James O. Hacking, III, MO Bar # 46728
                                              Hacking Immigration Law, LLC
